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                  EXHIBIT 3
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                          HISTORY
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2010     No Labels Begins It’s Journey.

       In December of 2010 over 1,000 citizens from
       each of the 50 states gathered in New York to
       launch a movement — No Labels was founded
       that day as a way of channeling the nation’s
       frustration with the Beltway’s idea of business
       as usual into a productive effort to change
       D.C.’s way of doing things.

       Since then, No Labels has been working to
       bring a new politics of goals-focused problem
       solving to our government. While many outside
       political groups are working to push our
       leaders apart, No Labels has worked tirelessly
       to bring them together.
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2011    Make Congress Work!


       Bipartisan Seating
       No Labels calls for bipartisan
       seating at the State of the Union,
       bucking decades of tradition.


       Make It Work!
       No Labels releases the Make
       Congress Work! reform agenda,
       which includes our signature No
       Budget, No Pay idea.
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2012    Make The Presidency Work Introduced,
        NBNP Passed Into Law, 1st HSGAC Hearing


       Senate Hearing
       Senate Committee on Homeland
       Security and Government Affairs
       (HSGAC) holds a hearing on No Labels
       idea of No Budget, No Pay.

       Congress Approves
       No Budget, No Pay passes Congress
       and is later signed into law by
       President Obama in 2013 spending bill.
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2012

       Presidential Appointments
       No Labels releases its the Make the
       Presidency Work! and Make America
       Work! reform plans.


       Congress Approves
       President Obama signs into law the
       Make the Presidency Work! proposal,
       “The Presidential Appointment
       Efficiency and Streamlining Act”,
       decreasing the number of presidential
       appointments subject to Senate
       confirmation.
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2012


       No Deal, No Break
       Before August recess, No Labels
       introduces the No Deal, No Break
       campaign to demand Congress stay in
       session until it reaches a solution on
       the debt crisis. No Labels is the first
       group calling for this and is credited
       for having a huge impact in getting the
       Senate to come back.
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2013    Make Government Work Introduced,
        Healthcare for Heroes Passed Into Law


       40 Problem Solvers
       More than 40 members of Congress wear
       a No Labels Problem Solver Pin at the State
       of the Union.


       Make Government Work!
       No Labels releases its Make Government
       Work! reform plan, which includes 17
       corresponding bipartisan bills in the House
       and Senate.
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2013
       No Labels Radio
       NL launches SiriusXM POTUS weekly
       radio show “No Labels Radio with
       Governor Jon Huntsman.”


       Healthcare for Heroes
       No Labels’ 21st Century Healthcare for
       Heroes Act becomes law as part of the
       National Defense Authorization Act.

       @NoLabels
       No Labels surpasses 100,000 followers
       on Twitter.
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2014    National Strategic Agenda
        Resolution, PS Seal Of
        Approval Awarded, 1st &
        2nd Books Published

       First Book Published
       No Labels publishes its first book, A
       Shared Vision for a Stronger America,
       endorsed by Speaker Gingrich &
       President Clinton.


       70 Problem Solvers
       More than 70 members of Congress
       wear a No Labels Problem Solver Pin at
       the State of the Union.
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2014
       National Strategic Agenda
       More than 80 members of Congress
       sign on to support a National
       Strategic Agenda, featuring four goals
       focused on job creation, balancing
       the budget, securing Medicare and
       Social Security and achieving energy
       security.


       Second Book Published
       No Labels’ second book, Just the
       Facts, is published. The book lays
       out unbiased statistics and essential
       facts on our country’s biggest
       issues.
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2014
       Two Bills Out of Committee
       A Make Government Work! bill, Wasted
       Energy, Wasted Dollars passes through
       the House Energy & Commerce
       Committee, and another bill, Take the
       Time, Save the Dime passes through
       the House Budget committee.


       Problem Solver Seal
       During the 2014 election cycle,
       more than 70 members of Congress
       receive the Problem Solvers Seal, and
       No Labels Problem Solvers win the
       vast majority of their congressional
       contests.
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2015    2nd HSGAC Hearing &
        Inaugural New
        Hampshire Convention

       70 Problem Solvers
       More than 70 members of Congress
       wear a Problem Solver Pin at the
       2015 State of the Union Address.

       Historic Hearing
       Senate Committee on Homeland
       Security and Government Affairs
       holds a hearing on the framework
       for a National Strategic Agenda in
       June.
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2015


       Problem Solver Convention
       On October 12, we played host to
       eight presidential candidates and
       over 1,500 New Hampshire voters
       and No Labels citizen members
       for a historic event.
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2016    Policy Playbook &
        1787 Meeting


       Policy Playbook for America's Next
       President
       No Labels unveils the Policy
       Playbook for America's Next
       President.
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2016

       1787: Constructing the Peace After
       the War
       On December 5, No Labels hosted
       1787, which enabled leaders to
       seize the post-election moment
       and jump-start a long overdue
       national conversation focused on
       bipartisan problem solving.
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2017    PSC Formalized &
        Citizens DC
        Conference

       Problem Solvers Conference
       In March 2017, No Labels hosted our
       first ever Problem Solvers Conference
       in Washington, D.C., which drew over
       800 of our top citizen supporters
       for two days of Hill meetings and
       strategizing to build support for the
       No Labels movement in communities
       across America.
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2017
       The Problem Solvers Caucus
       After years of relentless outreach and advocacy on Capitol Hill, No
       Labels in 2017 inspired the creation of the first-of-its kind Problem
       Solvers Caucus, which grows to feature more than 40 members
       of Congress, evenly divided between the parties, working to forge
       solutions to America’s toughest challenges.

       The Caucus, which aligns behind bipartisan proposals whenever
       75 percent of its members get to “yes,” does so four times in the
       115th Congress, releasing ambitious plans to deal with: Health
       care reform, immigration and border security, gun safety, and
       infrastructure. While the media often conflates No Labels and the
       Problem Solvers Caucus, No Labels is a separate and independent
       entity, even as we work toward a shared goal of finding and forging
       bipartisan solutions.
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2018    Break The Gridlock, Speaker
        Project, NLA Success

       Most Consequential Congressional Rule Reforms
       in Decades
       Encouraged by the Problem Solvers Caucus’
       ability to come together on tough issues, but
       frustrated by the refusal of House leadership
       to seriously consider these proposals, No
       Labels, in June 2018, announced The Speaker
       Project, a reform plan that proposes using
       the election of a new speaker of the House
       as leverage to make rules changes that would
       give bipartisan ideas a fair hearing and a
       fighting chance in the next Congress.
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2018   On July 25, the Problem Solvers Caucus
       released Break the Gridlock, which has the
       same goals and echoes many of the same
       proposals originally offered in The Speaker
       Project. Twenty Caucus members later
       commit to vote only for a House speaker who
       supports these rule reforms Shortly after
       the November 2018 midterm elections, the
       Problem Solvers deliver.

       On November 28, nine Democratic members
       of the House Problem Solvers Caucus
       announce they had reached agreement with
       likely speaker Nancy Pelosi and Democratic
       leadership on an ambitious rules reform
       package that will create a rare opening for
       bipartisan legislation in the next Congress.
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2019    Problem Solvers
        Success

       In January 2019, the Problem Solvers
       Caucus formally ushered in the biggest
       rule changes in Congress in decades.
       They were just getting started.
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2019
       Late 2018-Early 2019
       Problem Solvers provided an early endorsement for the First Step
       Act, providing bipartisan momentum to pass what would become
       the most far reaching criminal justice reforms in decades.


       January 2019
       The Problem Solvers were the only bipartisan group from the
       House to meet with President Trump to discuss a way to end the
       government shutdown – the longest in history – caused by the
       dispute over a border wall.


       June 2019
       The Problem Solvers beat back unreasonable demands from the
       Progressive Caucus to secure a critical humanitarian aid package
       for the southern border.
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2019
       July 2019
       The Problem Solvers led passage of a congressional resolution
       expressing support for Israel and denouncing the BDS (Boycott,
       Divestment and Sanctions) movement against the country.


       July 2019
       Several Problem Solvers played a lead role in extending the 9/11
       Victims Compensation Fund, which was set to expire at the end
       of 2020.


       Late 2019-Early 2020
       The Problem Solvers were the first bipartisan House group to
       announce their public support for bipartisan passage of USMCA
       (i.e. the update to NAFTA).
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2019   As the Problem Solvers worked to change the
       debate in Congress, No Labels continued its
       efforts to change the debate across America.


       October 2019
       Release of No Labels’ Ultimate Guide to the
       2020 Election, co authored by No Labels
       senior advisors Ryan Clancy and Margaret
       White.


       November 2019
       No Labels hosted its second Problem Solver
       Convention in Manchester, NH, featuring over
       1,000 citizen supporters, senators, House
       members and presidential candidates. The
       event featured the launch of No Labels’
       national Get In The Room! campaign, which
       mobilizes citizens to pressure their elected
       officials to attend No Labels’ regular bipartisan
       meetings with House and Senate members.
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2020

       Early 2020
       On January 8, No Labels hosted the first bipartisan bicameral
       meeting of 2020, featuring 39 House members and 7 senators in
       attendance. The group closed the meeting by agreeing to focus
       on passing the End Government Shutdowns Act, championed by
       Senator Ron Johnson.
